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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  ANALYTICAL TECHNOLOGIES, LLC,                   §
           Plaintiff,                             §    CIVIL ACTION NO. 2:23-CV-401-JRG-RSP
                                                  §                LEAD CASE
  v.                                              §
                                                  §    CIVIL ACTION NO. 2:23-CV-402-JRG-RSP
  YUM! BRANDS, INC.,                              §               MEMBER CASE
           Defendant.                             §
                                                  §

                                               ORDER

        Before the Court are the Stipulated Dismissal filed by Analytical Technologies,

 LLC (“Plaintiff”) and Defendant YUM! Brands, Inc. (Dkt. No. 19) and the Stipulated Dismissal

 filed by Plaintiff and Defendant Inspire Brands, Inc. (Dkt. No. 20.) In the stipulations, the parties

 represent that the above-captioned case has been resolved and request dismissal of both lead case

 2:23-cv-00401 and member case 2:23-cv-00402 WITH prejudice.

        Having considered the Stipulated Dismissals, the Court finds that they should be and

 hereby are GRANTED.            Accordingly,    all   claims   and    causes   of   action   asserted

 between Plaintiff and Defendants YUM! Brands, Inc. and Inspire Brands, Inc. in lead case 2:23-

 cv-00401 and member case 2:23-cv-00402 are DISMISSED WITH PREJUDICE. Each party

 is to bear its own costs, expenses, and attorneys’ fees. All pending requests for relief in

 the above-captioned case not explicitly granted herein are DENIED AS MOOT.

        The Clerk of Court is directed to CLOSE both lead case 2:23-cv-00401and member case

 2:23-cv-00402 as no parties or claims remain.

       So Ordered this
       Feb 6, 2024
